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UNITED STATES DISTRICT CoURT
MIDDLE DISTRICT oF FLORIDA
oRLANDO DIVISlONt it .li}?_ l 7 PH 2: 55

HINES INTERESTS LIMITED PARTNERSHIP, a
Texas limited partnership; URBAN OAKS
BUILDERS, LLC_, a Delaware limited liability
company; 1662 MULTIFAMILY LLC, a Delaware
limited liability company; HINES 1662
MULTIFAMILY, LLC, a Delaware limited liability
company; HINES lNVESTi\/IENT
MANAGEMENT HOLDINGS LIMITED
PARTNERSHIP, a Texas limited partnership;
HIMH GP, LLC, a Delaware limited liability
company; l-IINES REAL ESTATE HOLDINGS
LIMITED PARTNERSHIP, a Texas limited
partnership; JCH INVESTMENTS, Inc., a Texas
oorporation;

Plaintiffs,
vs.

SOUTHSTAR CAPITAL GROUP l, LLC, a
Floi'ida limited liability company; COTTINGTON
ROAD TlC, LLC, a Delaware limited liability
company; DURBAN ROAD TIC, LLC, a Delaware
limited liability company; COLLIS ROOFING_.
INC., a Florida corporation; DA PAU
ENTERPRISES, INC., a Florida corporation;
FLORIDA CONSTRUCTION SERVICES, INC., a
Florida oorporation; STRUCTURAL
CONTRACTORS SOUTH, INC., a Florida
corporation; NAVIGATORS SPECIALTY
INSURANCE COMPANY, aNeW York
corporation; GEl\/IINI lNSURANCE COMPANY, a
Delaware coi'poration; and IRONSI~IORE
SPECIALTY INSURANCE COMPANY_, an
Arizona corporation,

Defendants.

 

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GEMINI INSURANCE COMPANY’S
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GEMINI INSURANCE COMPANY (“Gemini”), pursuant to 28 U.S.C. § 1441 and 28
U.S.C. § 1332(a), explains its grounds for removal as follows:

I. THE INSURANCE POLICIES INVOLVED IN THIS DISPUTE

l. Gemini issued a commercial general liability insurance policy to HINES
INTERESTS LIMITED PARTNERSHIP (“HirleS”) and URBAN OAKS BUILDERS, LLC, (“Urban
Oaks”) as the first named insureds, under a policy bearing Policy No. VCWP0001075, With
effective dates of 06/28/2012 through 06/28/2017 (the “Gemini policy”). The Gemini policy
provides a $2,000,000 limit of insurance per occurrence

2. IRONSHORE SPECIALTY INSURANCE COMPANY (“Ironshore”) issued a
commercial excess liability policy to I-Iines and Urban Oaks bearing Policy No. 001402500 with
effective dates of 06/28/2012 through 06/28/2017 (the “Ironshore policy”). The Ironshore policy
is excess to the Gemini policy.

3. NAVIGA'I`ORS SPECIALTY INSURANCE COMPANY (“Navigators”) issued a
commercial excess liability policy to Hines and Urban Oaks bearing Policy No.
SE12FXS754225IC with effective dates of 06/28/2012 through 06/28/2017 (the “Navigators
policy”). The Navigators policy is excess to the Ironshore policy.

II. THE CONSTRUCTION PROJECT INVOLVED IN THIS DISPUTE

4. 1662 MULTIFAMILY, LLC COntraCted With URBAN OAKS BUILDERS, LLC
(“Urban Oaks”) for the construction of an apartment complex at 1662 Celebration Boulevard in
Celebration, Florida (the “Project”).

5. As part of the Project, subcontractors were required to enroll in a controlled

insurance program. Once properly enrolled, the subcontractors would then be named insureds

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under the Gemini policy.

6. As the general contractor, Urban Oaks contracted with other subcontractors for
the completion of the Project, including COLLIS ROOFING, INC., DA PAU ENTERPRISES, INC.,
FLORIDA CONSTRUCTION SERVlCES, INC., and STRUCTURAL CONTRACTORS SOUTH, INC.
(the “Nominal Insured Defendants”).

7. SOUTI-ISTAR CAPITAL GROUP I, LLC is managing agent for COTTINGTON
ROAD TIC, LLC and DURBAN ROAD TIC, LLC (the “Nominal Southsz‘ar Defendants”).
On 07/01/2016, the Nominal Southstar Defendants entered into an agreement with 1662
MULTIFAMILY, LLC to purchase the Proj ect.

8. After the purchase of the Project, the Nominal Southstar Defendants made a claim
against Urban Oaks and 1662 MU LTIFAMILY, LLC, for certain construction defects.

9. Urban Oaks entered into a Warranty Work agreement with the Nominal Southstar
Defendants, under which Urban Oaks would repair certain construction defects.

10. During the course of the Warranty Work repairs and at the insistence of Hines,
Gemini made three payments to Urban Oaks totaling $2,000,000 under the terms of the policy.

11. Gemini tendered the claim to Ironshore, the excess insurer, which disagrees that
the Gemini policy has been exhausted

III. THE UNDERLYING LAWSUIT BETWEEN THE PLAINTIFFS
AND NOMINAL DEFENDANTS

12. On or about 02/13/2018, the Nominal Southstar Defendants filed suit against
HineS; Urban Oaks; 1662 MULTIFAMILY LLC; HINES 1662 MULTIFAMILY, LLC; HINES
INVESTMENT MANAGEMENT HOLDINGS LIMITED PARTNERSHIP; HIMH GP, LLC;
HINES REAL ESTATE HOLDINGS LIMITED PAR'I'NERSHIP; and JCH INVESTMENTS, INC. (the

“Plaintiff Insureds”) in the Circuit Court for Osceola County, Case No. 2018-CA-00415 over

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defects in the balconies at the project (the “Underlying Action”). The complaint is attached as
Exhibit “A.”

13. In the underlying action, the Nominal Southstar Defendants bring the following
counts against the Plaintiff Insureds: Count l - Piercing the Corporate Veil/Alter Ego; Count II -
Fraudulent Non-Disclosure/Fraudulent Inducement; Count III - Breach of` Contract, Intentional
Withholding of Material Information; Count IV - Statutory Violation of Florida Statutes 553.84;
Count V - Negligence.

IV. THE PRESENT COVERAGE DISPUTE

14. On 06/07/2018, the Plaintiff Insureds filed suit in the Circuit Court for Osceola
County, Case No. 2018-CA-01845. The complaint in the Coverage Action is attached as
Exhibit “B.”

15. The Plaintiff Insureds filed suit against Gemini, Ironshore, and Navigators
(Gemini, Ironshore, and Navigators collectively the “Insurer Def`endants”) for a determination of
coverage under the insurance policies. (the “Coverage Action”).

16. The Plaintiff Insureds also named the Nominal Southstar Defendants.

17. The Plaintiff Insureds also named the Nominal Insured Defendants.

18. Count l of the Coverage Action is an action for declaratory relief against Gemini
and a demand for jury trial. The Plaintiff Insureds seek a declaration that the Gemini policy
provides coverage for the Underlying Action, that Gemini owes a duty to defend in the
Underlying Action, and that the Gemini policy has not been exhausted, among other
declarations

19. Count ll is an action for declaratory relief against Ironshore and a demand for jury

trial. The Plaintiff Insureds seek a declaration that the Ironshore policy provides coverage for the

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Underlying Action and that Ironshore owes a duty to defend in the Underlying Action, among
other declarations

20. Count ll is an action for declaratory relief against Navigators and a demand for
jury trial. The Plaintiff Insureds seek a declaration that the Navigators policy provides coverage
for the Underlying Action and that Navigators owes a duty to defend in the Underlying Action,
among other declarations

There are no causes of action against any of the Nominal Insured Defendants
or the Nominal Southstar Defendants, only the Insurer Defendants.

21. The Plaintiff Insureds do not bring any counts against defendant COLLIS
ROOFING, INC. The Plaintiff Insureds do not seek any relief from COLLIS ROOFING, INC.

22. The Plaintiff Insureds do not bring any count against defendant DA PAU
ENTERPRISES, INC. The Plaintiff Insureds do not seek any relief from DA PAU ENTERPRISES,
INC.

23. The Plaintiff Insureds do not bring any count against defendant FLORIDA
CONSTRUCTION SERVICES, INC. The Plaintiff Insureds do not seek any relief from FLORIDA
CONSTRUCTION SERVICES, INC.

24. The Plaintiff Insureds do not bring any count against defendant STRUCTURAL
CONTRACTORS SOUTH, INC. The Plaintiff Insureds do not seek any relief from STRUCTURAL
CONTRACTORS SOUTI-I, INC.

25. The Plaintiff Insureds do not bring any count against defendant SOUTHSTAR
CAPITAL GROUP I, LLC. The Plaintiff Insureds do not seek any relief from SOUTHSTAR
CAPITAL GROUP I, LLC.

26. The Plaintiff Insureds do not bring any count against defendant COTTINGTON

ROAD TIC, LLC. The Plaintiff Insureds do not seek any relief from COTTINGTON ROAD

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TIC, LLC.
27. The Plaintiff Insureds do not bring any count against defendant DURBAN ROAD
TIC, LLC. The Plaintiff Insureds do not seek any relief from DURBAN ROAD TIC, LLC.

V. REMOVAL OF THIS INSURANCE COVERAGE DISPUTE IS APPROPRIATE

28. Removal is appropriate under 28 U.S.C. § l332(a) because there is complete
diversity of citizenship and because the amount in controversy exceeds $75,000.00, exclusive of
interest and costs.

A. Removal is appropriate; there is complete diversity of citizenship between all
plaintiffs and all defendants

29. “I-Iines Interests Limited Partnership” is a Texas limited partnership The sole
partner of “Hines Interests Limited Partnership” was at all times, including at the time this action
Was commenced, and this notice filed, a citizen of the state of Texas. Accordingly, “Hines
Interests Limited Partnership” is a citizen of the state of Texas. In a prior removal in the United
States District Court for the Northern District of Georgia, “Hines Interests Limited Partnership”
held itself out as a citizen of the state of Texas. The filing is attached as Exhibit “C.” This filing
includes a chart explaining that all the partners of “Hines Interests Limited Partnership” are
entities whose own citizenship is determined by “JCH Investments, Inc.,” Jeffery C. Hines, and
Gerald D. Hines, all of Whom are citizens of Texas.

30. “Urban Oaks Builders, LLC” is a Delaware limited liability company. “POC
Holdings 2, Inc.” is the sole member of “Urban Oaks Builders, LLC” and was at all times,
including at the time this action was commenced, and this notice filed, a citizen of the state of
Texas. Accordingly, “Urban Oaks Builders, LLC” is a citizen of the state of Texas. The tax
account status for “POC Holdings 2, Inc.” filed With the Texas Office of the Comptroller is

attached as Exhibit “D.” A memo from counsel providing the structure of the entities is attached

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as Exhibit “E.”

31. “1662 Multifamily, LLC” is a Delaware limited liability company. “Hines 1662
Multifamily, LLC” is the sole and managing member of “1662 Multifamily, LLC.” “I-Iines 1662
Multifamily, LLC” was at all times, including at the time this action was commenced, and this
notice filed, a citizen of the state of Texas. Accordingly, “1662 Multifamily, LLC” is a citizen of
the state of Texas. See Exhibit “E.”

32. “Hines 1662 Multifamily, LLC” is a Delaware limited liability company. “Hines
Investments Management Holdings Limited Partnership” is the sole and managing member of
“Hines 1662 Multifamily, LLC.” “Hines Investments Management Holdings Limited
Partnership” was at all times, including at the time this action was commenced, and this notice
filed, a citizen of the state of Texas. Accordingly, “Hines 1662 Multifamily, LLC” is a citizen of
the state of Texas. See Exhibit “E.”

33. “Hines Investments Management Holdings Limited Partnership” is a Texas
limited partnership. “HIMH GP, LLC” is the sole general partner of “Hines Investments
Management Holdings Limited Partnership”. “HIMH GP, LLC” was at all times, including at the
time this action was commenced, and this notice filed, a citizen of the state of Texas.
Accordingly, “Hines Investments Management Holdings Limited Partnership” is a citizen of the
state of Texas. See Exhibit “E.”

34. “HIMH GP, LLC” is a Delaware limited liability company. “Hines Real Estate
Holdings Limited Partnership” is the sole member of “HIMH GP, LLC.” “Hines Real Estate
Holdings Limited Partnership” was at all times, including at the time this action was
commenced, and this notice filed, a citizen of the state of Texas. Accordingly, “HIMH GP, LLC”

is a citizen of the state of Texas. See Exhibit “E.”

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35. “Hines Real Estate Holdings Limited Partnership” is a Texas limited partnership.
“JCH Investments, Inc.” is the sole general partner of “Hines Real Estate Holdings Limited
Partnership.” “JCH Investments, Inc.” was at all times, including at the time this action was
commenced, and this notice filed, a citizen of the state of Texas. Accordingly, “Hines Real
Estate Holdings Limited Partnership” is a citizen of the state of Texas. See Exhibit “E.”

36. “JCH Investments, Inc.” was at all times, including at the time this action was
commenced, and this notice filed, a Texas corporation with its principal place of business in
Texas. Accordingly, “JCH Investments, Inc.” is a citizen of the state of Texas. See Exhibit “E.”

37. “Southstar Capital Group I, LLC” is a Florida limited liability company. All of
the members of “Southstar Capital Group I, LLC” Were at all times, including at the time this
action Was commenced, and this notice filed, a citizen of the state of Florida. Accordingly,
“Southstar Capital Group I, LLC” is a citizen of the state of Florida.

38. “Cottington Road TIC, LLC” is a Delaware limited liability company. All of the
members of “Cottington Road TIC, LLC” Were at all times, including at the time this action was
commenced, and this notice filed, a citizen of the state of Florida. Accordingly, “Cottington
Road TIC, LLC” is a citizen of the state of Florida.

39. “Durban Road TIC, LLC” is a Delaware limited liability company. All of the
members of “Durban Road TIC, LLC” were at all times, including at the time this action was
commenced, and this notice filed, a citizen of the state of Florida. Accordingly, “Durban Road
TIC, LLC” is a citizen of the state of Florida.

40. “Collis Roofing, Inc.” was at all times, including at the time this action was
commenced, and notice filed, a Florida corporation with its principal place of business in

Florida. “Collis Roofing, Inc.” is accordingly a citizen of the state of Florida. The record for

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“Collis Roofing, Inc.” filed with the Florida Department of State, Division of Corporations is
attached as Exhibit “F.”

41. “Da Pau Enterprises, Inc.” was at all times, including at the time this action was
commenced, and notice filed, a Florida corporation with its principal place of business in
Florida. “Da Pau Enterprises, Inc.” is accordingly a citizen of the state of Florida. The record for
“Da Pau Enterprises, Inc.” filed with the Florida Department of State, Division of Corporations
is attached as Exhibit “G.”

42. “Florida Construction Services, Inc.” was at all times, including at the time this
action was commenced, and notice filed, a Florida corporation with its principal place of
business in Florida. “Florida Construction Services, Inc.” is accordingly a citizen of the state of
Florida. The record for “Florida Construction Services, Inc.” filed with the Florida Department
of State, Division of Corporations is attached as Exhibit “H.”

43. “Structural Contractors Services, Inc.” was at all times, including at the time this
action was commenced, and notice filed, a Florida corporation with its principal place of
business in Florida. “Structural Contractors Services, Inc.” is accordingly a citizen of the state of
a Florida. The record for “Structural Contractors Services, Inc.” filed with the Florida
Department of State, Division of Corporations is attached as Exhibit “I.”

44. “Gemini Insurance Company” Was at all times, including at the time this action
Was commenced, and this notice filed, a Delaware corporation with its principal place of
business in Connecticut. “Gemini Insurance Company” is accordingly a citizen of the states of
Delaware and Connecticut. The company report for “Gemini Insurance Company” on file with
the Florida Office of Insurance Regulation is attached as Exhibit “J.”

45. “Ironshore Specialty Insurance Company” was at all times, including at the time

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this action was commenced, and this notice filed, an Arizona corporation with its principal place
of business in New York. “Ironshore Specialty Insurance Company” is accordingly a citizen of
the states of Arizona and New York. The company report for “Ironshore Specialty Insurance
Company” on file with the Florida Office of Insurance Regulation is attached as Exhibit “K.”

46. “Navigators Specialty Insurance Company” Was at all times, including at the time
this action was commenced, and this notice filed, a New York corporation with its principal
place of business in New York. Navigators is accordingly a citizen of the state of New York. The
company report for “Navigators Specialty Insurance Company” on file with the Florida Office of
Insurance Regulation is attached as Exhibit “L.”

47. All Plaintiff Insureds are citizens of the Texas.

48. All of the defendants in this action, putting aside whether they are nominally
interested or not, are citizens of Arizona, Connecticut, Delaware, Florida, and New York.

49. Stated differently, there is complete diversity between the Plaintiff Insureds on
one hand, and the Nominal Southstar Defendants, the Nominal Insured Defendants, and the
Insurers on the other hand.

50. For the Court’s convenience, the following chart summarizes the citizenship and

posture of all of the parties in this insurance coverage dispute:

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Plaintiff Insureds Citizenship

Hines Interests Limited Partnership TX
Urban Oaks Builders, LLC TX
1662 Multifamin LLC TX
Hines 1662 Multifamily, LLC TX
Hines Investment Management TX
Holdings Limited Partnership

HIMH GP, LLC TX
Hines Real Estate Holdings Limited TX
Partnership

JCH Investments, Inc TX

 

 

  
  

 

 

 

Nominal Southstar Dcfendants Citizcnship
Southstar Capital Group I, LLC FL
Cottington Road TIC, LLC FL
Durban Road TIC, LLC FL

 

 

 

 

 

 

 

 

 

Nominal Insurer[ Defcndants Citizcnship

Collis Roofing, Inc. FL

Da Pau Enterprises, Inc. FL
Florida Construction Services, Inc. FL
Structural Contractors South, Inc. FL
Gemini Insurance Company DE, CT
Ironshore Specialty Insurance AZ, NY
Company

Navigators Specialty Insurance NY, NY
Company

 

 

 

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B. T here is unanimity in removal among the Insurer Defendants, which are the
only interested defendants in this coverage action.

51. The rule of unanimity in removal requires that in cases involving multiple
defendants all defendants who have been served must join or assent in the removal petition. 28
U.S.C. § 1446(b)(2)(A); see also Triggs v. John Crump Toyota, Inc., 154 F.3d 1284, 1287 (1 lth
Cir.l998). The consent of fraudulently joined or nominal parties, however, is not required; their
lack of consent or indifference does not defeat removal. ld.; see also, Henderson v. Washington
Nat’l Ins. Co., 454 F.3d 1278, 1281 (llth Cir. 2006). In general, “nominal or formal parties,
being neither necessary nor indispensable, are not required to join in the petition
for removal.” Smith v. Health Ctr. of Lake City, 252 F.Supp.2d 1336, 1339 n.5 (l\/I.D. Fla.
2003) (quoting Tri-Cities Newspapers, Inc. v. Trl'-Cities Printing Pressmen, 427 F.2d 325, 327
(Sth Cir. 1970)). “The ultimate test of whether the defendants are indispensable parties
is whether in the absence of the [defendant], the Court can enter a final judgment consistent with
equity and good conscience which would not be in any way unfair or inequitable to plaintiff.” Id.
A nominal party includes a party with no legal interest in the outcome of the action and a party in
whose absence the plaintiff can obtain sufficient relief. Tri-Cities Newspapers, 427 F.2d at 327.

52. Ironshore has consented to removal, which is attached as Exhibit “l\/I.”

53. Navigators has consented to removal, which is attached as Exhibit “N.”

54. The Plaintiff Insureds do not bring any counts against the Nominal Southstar
Defendants or seek any relief from the Nominal Southstar Defendants; they are mere nominal
parties Consent accordingly is not required from the Nominal Southstar Defendants for removal.

55. The Plaintiff Insureds do not bring any counts against the Nominal lnsured
Defendants or seek any relief from the Nominal Insured Defendants. The Nominal lnsured

Defendants are nominal parties No consent is required from the Nominal Insured Defendants for

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removal.
C. To the extent consent of the Nominal Insured Defendants or
Nominal Southstar Defendants is needed, they should be realigned because
their interests are aligned with the Insured Plaintiffs.

56. In the altemative, to the extent the Nominal Southstar Defendants and the
Nominal Insured Defendants are not nominal parties and do have any interest in the outcome
of this lawsuit, that interest is aligned with the Plaintiff Insureds in establishing coverage.
If necessary, this Court should realign them as plaintiffs for purposes of diversity jurisdiction
See, e.g., City of Vestavia Hills v. General Fid. lns. Co., 676 F.3d 1310, 1314 (11th Cir. 2012)
(affirming district court’s order denying remand, because federal courts are required to “look
beyond the pleadings and arrange the parties according to their sides in the dispute, as
determined by the principle purpose of the suit and the primary and controlling matter in
dispute”); Wheeler’s Moving & Storage, lnc. v. Markel lns. Co., No 11-80272-C1V, 2011 WL
3419633, at *2 (S.D. Fla. Aug. 4, 2011) (“[I]f interests of a party named as a defendant coincide
with those of plaintiff in relation to the purpose of the lawsuit, the named defendant must be
realigned as plaintiff for jurisdictional purposes.”); La Shangrz'la, lnc. v. Hermitage Ins. Co., No
8:07-cv-1133-T-24-EAJ, 2007 WL: 2330912, at *2 (M.D. Fla. Aug. 13, 2007) (realigning parties
in removed case based on interests; usual alignment in a declaratory judgment action is insurer
against insured and an injured party); Trovillon Constr. & Dev., Inc. v. Mid-Continent Cas. Co.,
No. 6:12-cv-914-Or1-37TBS, 2014 WL 01678 (M.D. Fla. Jan. 27, 2014) (same).

57. Once realigned, there is then complete diversity of citizenship between the
insured defendants and the Insurer Defendants.

D. Removal is appropriate,' the requisite amount in controversy is satisfied.

58. In the Coverage Action complaint, the Plaintiff Insureds allege that there are more

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than $45,000,000 in damages at issue in the Underlying Action. (See Ex. B, 11 43.) There is a
dispute amongst the Plaintiff Insureds and the Insurer Defendants as to what coverage is owed
under the insurance policies, each of which provides multi-million dollar limits of insurance
Accordingly, it is evident that the amount in controversy is in excess of $75,000, exclusive of
interest, attorney’s fees and costs

E. Removal is appropriate; removal is timely.

59. On June 21, 2018, Gemini received a copy of the complaint from counsel for
COLLIS ROOFlNG, lNC.

60. On June 28, 2018, Gemini was served with the complaint by the Plaintiff
Insureds Pursuant to 28 U.S.C. § 1446(b)(1), this notice is accordingly timely since it was filed
within thirty days after received a copy of the pleading, “through service or otherwise.”

F. Removal is appropriate; all of the elements are satisfied

61. As explained in the sections above, the state court action may be removed to this
Court under 28 U.S.C. § 1441(a) because: (a) this action is a civil action pending within the
jurisdiction of the United States District Court for the Middle District of Florida; (b) this action is
between citizens of different states; and (c) the amount in controversy exceeds $75,000.00,
exclusive of interests and costs

62. Pursuant to 28 U.S.C. § 1446(b) and Local Rule 4.02(b), a copy of all process,
pleadings, orders, and other papers that Gemini has received are attached as Composite Exhibit
“O_,,

63. Pursuant to 28 U.S.C. § 1446(d), written notice of the removal of this action will
be promptly served on counsel for all parties, and a notice of filing is simultaneously being filed

with the Clerk of the Circuit Court in and for Osceola County, Florida.

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64. Gemini, under 28 U.S.C. § 1441 and 28 U.S.C. § 1446, respectfully requests that

this Court remove this action, which is currently pending in the Circuit Court, Ninth Judicial

Circuit in Osceola County, Florida.

Respectfully submitted,

/s/KEVIN M. NESLAGE
SINA BAHADORAN

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KEle N. NEsLAGE

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